                               __________
                                         _______




Case 01-01139-AMC           Doc 22814-4      Filed 08/14/09   Page 1 of 28




                                                                        1


           1             IN THE DISTRICT COURT OF THE NINETEENTH

       2             JUDICIAL DISTRICT OF THE STATE OF MONTANA

       3                   IN AND FOR THE COUNTY OF LINCOLN

       4       CAUSE NO. DV-97-153

       5       CARL E. CRAIG and MARION L.
               CRAIG, husband and wife,
       6
                           Plaintiffs,
       7
                    vs
       8
               W.R. GRACE & CO. -Conn., a
       9       Connecticut Corporation,
               EARL D. LOVICK and DOES I-IV,
  10
                          Defendants.
  11




  12

  13                             DEPOSITION

  14                                        OF

  15                                 CARL B. CRAIG

  16                          (On Behalf of Defendants)

  17

  18

 19                           Taken at the Venture Inn
                                     Highway 93
 20                                Libby, Montana
                              Tuesday, August 24, 1999
 21                                   9:00 a.m.

 22

 23

 24
                Reported by Debra M. Hedman, RPR,     RNR, and Notary
 25              Public for the State of Montana,     Flathead County
Case 01-01139-AMC                  Doc 22814-4     Filed 08/14/09      Page 2 of 28




                                                                                  37



           3.     the medication assisted you in dealing with that?

        2                A     Yes.

       3                 Q    Do you remember discussing              Well,
                                                                 --           do you
       4         remember taking pulmonary function tests at that

       5         time?

       6                 A    No,     I didn’t.

       7                 Q    Okay.     When was it,    in fact,   that you     quit
       8         smoking?     Did you write the date down someplace?

       9                 A    Yeah,    I believe it was 1993.

  10                     Q    1993.

  1].                    A    Uh-huh.

  12                     Q   You say that from the beginning of 1990

  13            until currently your shortness of breath has gotten

  14             steadily worse?

  15                 A       Yes.

  16                 Q       So in the mid 19909,       it was certainly

  17            worse than it was at the beginning of the 1990s, but

  18            not as bad    as it is now,       is what you’re saying?

 19                  A       Yes.     That’s correct.

 20                  Q       Have you had any psychological or

 21             psychiatric treatment of any nature?

 22                  A       No.

 23                  Q       There were some indications in the medical

 24             records of         And I think they were yours.         Maybe
 25             I’m mixing up medical records.          --   of a suggestion of
Case 01-01139-AMC                   Doc 22814-4       Filed 08/14/09     Page 3 of 28




                                                                                        38


          1     COunselling?          Did you ever go to a counselor at all?

       2               A    No, I did not.
       3               Q    Have you ever had any             --   made any Social
       4       Security claims?

       S               A    No, I have not.

       6               Q    nd you have had some Workerst
       7       Compensation claims only for the cost of the

      8        medicals and getting         - -




      9                A    That’s correct.

  10                   Q    -
                                -   getting yourself repaired?

  11                   A    Yes.

  12                   Q    Have you ever had a peràonal injury

  13           lawsuit?

  14               A       No, I have not.

  15               Q       Let’s talk about the situation at

 16           W.R. Grace when you went to work there.                  How was it
 17           that you happened to hire on there?

 18                A       I was. looking for steady employment and

 19           they had steady employment and good benefits.

 20           That’s what coaxed me to go to work there.

 21                Q       Who was it that        -   -   Who was it that you   -   -




 22           who actually hired you?

 23                A       I believe it was Bill Dorrington.

 24                Q       Having lived around here, did you have a

 25           lot of acquaintances who worked up there at the
Case 01-01139-AMC           Doc 22814-4           Filed 08/14/09   Page 4 of 28




                                                                               40


        1    while you were      - -   your primary supervisor while you

       2     were there?

       3             A    I had two of them.          In maintenance it was
       4     Ed Hendrickson, and when I was in the new mill it

       5     was Duane Monroe.

       6             Q    Here is what my review of the personnel

       7     records indicates.         That you were hired onto the         --




       8     into the labor pool, but almost immediately went to

       9     wet mill, utility man?

   10               A     Yes.

  11                Q     Not almost immediately.           Five months, I
  12        guess.

  13             A        Yes.

  14             Q       And then you stayed there until you made a

  15        skipper in April of 1990         --    1975.    And then because
  16        of layoffs, you went back to wet mill utility in

  17        August of ‘75, and then in October of ‘75 became a

  18        millwright’s helper, and then remained,.that for the

  19        rest of the time until you left?               Does that sound
  20        right?

 21             A        That sounds right.         Yes.
 22             Q        And then Hendrickson would have been the

 23         supervisor when you were in the wet mill and             --




 24             A        Maintenance.

 25             Q        Oh, maintenance.
Case 01-01139-AMC               Doc 22814-4     Filed 08/14/09          Page 5 of 28




                                                                                  41



          1            A      Uh-huh.

       2               Q      And then Duane Monroe when   -   -   he
       3       supervised you where?

       4               A      In the wet mill, as far as bottom floor

       5       operator and utility man.

      6                Q      Now, the wet mill that we’re talking

      7        about,      is that the new mill or the old wet mill?

      8                A     That’s the new wet mill.

      9                Q     New mill.     When you started working there,

  10           was the new mill in operation?

  11                A        It was just starting into operation.

  12                Q        While you were there, did the old mill           -




  13          the old dry mill ever operate?

  14               A         Sometimes they operated the lower part of

  15          it, yes.       Not for much.

 16                Q         So it would be just very sporadic?

 17                A         Uh-huh.

 18                Q         And I assume that that was during a period

 19           of time that they were still getting the new mill

 20           fully tuned up to run?

 21                A        Yes, uh-huh.

 22                Q        And so then, did you ever work in the old

 23           dry mill?

 24                A        Other than just cleaning up, being a

 25           sweeper, no.      I never held a position there.
Case 01-01139-AMC                      Doc 22814-4      Filed 08/14/09   Page 6 of 28




                                                                                    42


           1                  Q       Were you a sweeper there?

       2                      A       Yes.

       3                      Q       For how long?

       4                      A      While I was in the labor pool,      so off and
       5         on within the first five months.

       6                   0         If the operation was intermittent, was

       7        your work as a sweeper also intermittent or did you

       8        work there as a sweeper every day?

       9                  A          No,   it was intermittent.

  10                      Q          What did you do when you weren’t working

  11            as a sweeper?

  12                      A          Whatever needed to be done.    You know,
  13            when you’re in labor, they send you all over,

  14                      Q         How rna.ny days would you reckon that you

  15           worked as a sweeper during that fivemonth period?

  16                  A             Oh, gosh.

 17                   Q             Half the time?

 18,                                I don’t know.     I can’t recall.

 19                   Q             Quarter of the time?

 20                   A             Yeah, maybe scmethin like that.       Maybe.
 21                   0             When you started work, who was it that

 22            briefed you on what it was that you were going
                                                              to be
 23            doing?

 24                   A             When I first started there it would have

 25            been               I guess it would have been Duane Monroe,
                      --
                                                                                I
Case 01-01139-AMC             Doc 22814-4             Filed 08/14/09   Page 7 of 28




                                                                                 45



       1    miii.

       2              Q      The skip was there.             Right.
       3              A      t3h-huh.

       4              Q     Was there any discussion with you at all

       5    concerning dustiness             - -   the dust by any of your
       6    supervisors?

       7              A     No.

       8              Q     What was your job in the new mill?             I’m
       9   going to refer to it as the new mill to separate it

  10       from the old wet mill.

  11              A         That was a bottom floor operator.

  12              Q         And what did that job entail?

  13              A         We had to mix chemicals and diesel, which

  14       helped float the ore of f the                --   I don’t remember

  15       what they called the          -   -     a flotation device, anyway,

  16       further up in the mill and I kept the bottom floor

  17       clean.         They still had a lot of ore down there.

  18       We had to wash it off,.                 And grease pumps and all

  19       that   -   -




 20               Q        Okay, can you describe for me how dusty
 21        the air was in the new mill?                 Could you see dust in
 22        the air?

 23               A        Oh, yes.     It sparkled.

 24               Q        Was it a dry process?

 25               A        The upper portion of it was fairly dry,
Case 01-01139-AMC            Doc 22814-4         Filed 08/14/09         Page 8 of 28




                                                                                   46



       1    but the bottom was just from the wind and from the

       2    bag mill and       --   the bag plant.

       3               Q    So what you’re saying is that the dust did

       4    not necessarily arise from the process itself but

       5    would just come in from other sources?

       6               A    That’s correct, yes.               Not on the bottom
       7    floor anyhow.

       8               Q    It wasn’t dusty on the bottom floor is

       9    what you’re saying?

  10               A       Not as dusty.

  11               Q       Was the dust ever such that it bothered

  12       you enough to complain about it?

  13               A       Maybe other than jokingly, no, I don’t

  14       think so.

  15               Q       When you were working,              sweeping in the old
  16       mill,       I think you said something about only the

  17       bottom part of it was working?

  18..             A       Yeah.    They had conveyors and stuff that

  19       went across the bottom of it that took ore out to

  20       the old tailings pile and they were using it then.

 21                Q       Were they using   -   -   Were they actually
 22        processing ore in it or were they using the conveyor

 23        to get the stuff to get across              -   -




 24             A          They were using the conveyor to get rid of

 25        the waste.
Case 01-01139-AMC                Doc 22814-4        Filed 08/14/09    Page 9 of 28




                                                                               47



        1            Q       The waste from where?

        2            A       From whatever they gt out of the

        3    Zonolite    --      or, out of the vermiculite.

       4             Q       Im confused,      though.       Was the old dry

       5     miii actually working and              --




       6            A     No,      the screening part of it and stuff was

       7    not, no.

       S            Q    Okay.       So what you were doing is basically

       9    using the conveyor system in the old dry mill to

  10        move the tailings from someplace to the tailings

  11        pile?

  12                A    And the conveyor for the skip.

  13                Q    For the skip.

  14             A       Yeah.

  15             Q       So you iust basically had two conveyors

  16        moving material through         --




  17             A       That’s correct, yes.

  18.            Q       -   -   the dry mill?       So what your ob would.

  19        have been was to pick up           --    when you were sweeping,

  20        to sweep up the materials that were dropping off the

  21        conveyors?

  22             A       That’s right.

 23              Q       Tell me about whether that material was

 24         dry or whether it was moist or wet.

 25             A        The one was moist.              The other one was dry,
Case 01-01139-AMC           Doc 22814-4           Filed 08/14/09               Page 10 of 28




                                                                                              48



         1    re-mined ore.       I mean,    it was       --       It was headed to be
         2    shipped out.

         3            Q    Andso-

         4            A    It was very dry.

       S              Q    So it was not      -   -    It was finished

       6      vermiculite?

       7              A    Yes.

       8              Q    So it didn’t      --       Just to get it straight,

       9      the materials that had been removed in whatever

   10         processing was wet and it was going to the tailings

   12.       dump; and the material that was dry was the

   12        vermiculite concentrate and it was going to the skip

   13        and would go down and be hauled down to the river?

   2.4            A       Yes, that’s correct.

   15             Q       When you worked in the               -   -    sweeping in the

  16         old dry mill, did you have anybody                        --   was anybody
  17         else working in the old dry mill other than the

  18         skipper?                                                                     -




  19              A       Sometimes there would be several people,

  20         like if they had a spill or something shoveling.

  21              Q       Shovel it up?

  22              A       Yeah, uh-huh.

  23              Q       Was all of that conveyor stuff on the

  24         ground floor of the     -   -




  25              A       No, the conveyor for the skip was on the
Case 01-01139-AMC           Doc 22814-4             Filed 08/14/09      Page 11 of 28




                                                                                 49



              second.     That’s correct.

        2             Q    Yeah.           Because then you would drop it down

        3    into the skip and              -   -




        4            A     Into the silos, into bins.

        5            Q     Okay.           And it’s your testimony that the      --




       6     that you never wore a respirator or saw anyone wear

       7     a respirator in, that job?

       8             A     Not in that job, no.

       9             Q     Except for the times there was a large

   10        spill, when you were working there, you would be

   11        working by yourself?

   12             A       Yes.

   13             a       And you would have a broom and a shovel

   14       and a wheelbarrow,              I suppose?

  15              A       We shoveled it right on the conveyor.

  16              Q       Just tbssed it back on the conveyor?

  17             A        If it was deep on the bottom, if we had a

  18        bad spill, we would wheel it out.                 Or a bobcat.
  19             Q        What was the dust situation like there?

  20             A        It was bad.
  21             Q        How do you mean “bad”?           Could you see
  22        across the room?

  23             A        Yeah.           But it was extremely dusty.

  24        I mean, it was        -   -   You could see it,   I mean,    easy,
  25        you know.     There was lots of it.
Case 01-01139-AMC              Doc 22814-4     Filed 08/14/09          Page 12 of 28




                                                                                         50



        1            Q    How was it compared to the dust in the new

        2    mill?

        3            A    Parts of the new mill, the upper parts,

       4     were still pretty dusty.          Like I say,         the bottom
       5     floor, maybe even the second floor were                 --     they were
       6     dusty, but not as bad as the rest of it.

       7             Q    Did they have ventilation in the new mill?

       8             A    Only for the dryer.          They had a bag mill

       9     for the dryer, which was inadequate.                  I mean, you
   10       could go outside and there was             -   -   around that area,
   11       there was lots of dust.

   12            Q       When you were shoveling in the               - -   When you
   13       were cleaning up the spills in the old mill                     -   -




  14             A       Uh-huh.

  15             Q       - -    from the conveyor, was there dust also

  16        accumulated on the floors?

  17             A       Yes, there was.

  18             Q       How deep would that be?               Just dust or         --




  19             A       Probably an inch or a couple inches or

  20        whatever.

  21                     Was it your job to clean that as well?

  22             A       Yes.

  23             Q       So did you have to sweep the whole floor

  24        as opposed to just picking up spills?

  25            A        The immediate    --   Yeah,       that floor anyhow,
Case 01-01139-AMC             Doc 22814-4      Filed 08/14/09      Page 13 of 28




                                                                             51



       1    yes.

       2               Q     When you were working there, did you spend

       3    the whole shift?

       4               A     Sometimes, yes.

       S               Q     Other times you wouldnlt?

       6           A        Very seldom we didn’t, but there would be

       7    times the mill would be down.

       8           Q        Okay.   Do you remember anyone by name who

       9    worked with you during that period of time that

   10      would have been doing the same kind of thing?

  11               A        Yeah.   It has been a long time.        Dennis
  12       Day would have been one of them.            Bruce Cole, I

  13       worked with him.

  14               Q        It would be just other people that were on

  15       the labor pool?

  16               A        Yes.

  17               Q        There wasnt anyone you knew of that was

  18       permanently assigned to that old dry mill to do the.

  19       spill clean up?

  20               A        Only the skip operator.

  21               Q        And they kept pretty busy doing their own

  22       thing, didn’t they?

  23               A        Yeah, but when the mill   --   just like

  24       anything else, when they break down, then it was

  25       your job        to jump in there and sweep and     --
Case 01-01139-AMC          Doc 22814-4        Filed 08/14/09      Page 14 of 28




                                                                           52


        1            Q    Okay, then you were a skip operator, too,

        2    for a period of time?

        3            A    Yes, most of the year there.

       4             Q    And how would you     - -   What would you say
       5     the dust conditions were there?

       6             A    Extremely bad.

       7             Q    Was there a skip booth?

       8            A     Yes.

       9            Q     Was there any ventilation in the skip

   10       booth?

   11            A       No, there was not.

   12            Q       Did dust collect on the floor of the skip

   13       booth?

                 A       Yes.

  15             Q       And would you clean that or would someone

  16        else clean it?

  17             A       Wecleaned it    --   The operator cleaned it.

  18             Q       What would you do with the dust that

  19        spilled?

  20             A       Shoveled it into a car        --   into a skip car.
  21             Q       Okay, but the skip was taking the ore?

  22            A        That’s correct.

  23            Q        Would you throw it in back with the ore?

  24            A        Yeah, it was just Zonolite.          They were
  25        right together       I mean, they were from, like me to
Case 01-01139-AMC            Doc 22814-4                     Filed 08/14/09         Page 15 of 28




                                                                                                 53



       1       you apart, the skip car and the skip operator shack.

       2               Q    tJh-huh.          But what          --   The dust, was that in

       3       your view Zonolite dust or was it                        -   -   rock dust or
       4       what was it?

       5            A       No, it was Zonolite dust.

       6            Q       Okay.           Okay.           1.nd then your other job was

       7       millwright and millwright helper.                            Where did you do

       8       most of your work as a millwright?

       9            A      Every day it changed.                      Wherever something

   10          needed work, that’s where we were sent.                             I   spent a

   11          lot of time on the skip track and the lower ore bins

  12       and the screening plant and the reclaimer.                                   You

  13       know, whatever           -   -




  14               Q       It was almost all mill related?                             You

  15       wouldn’t have had any mine-related                           --




  16               A       No, I didn’t work at all in the mine.

  17               Q       Did you see              -   -   Tell me about anyone that

           you remember seeing wear a respirator up there.

  19               A       There was one guy on our crew.                           I don’t
  20       remember his name.                 He worked in the lab and he wore

  21       a respirator.

  22               Q       Do you know why?

  23               A       No.   I just         --          I assumed at the time it

  24       was because of the oven and stuff in the lab.

  25       I    didn’t know.
 Case 01-01139-AMC                  Doc 22814-4           Filed 08/14/09   Page 16 of 28




                                                                                      54



         1              Q       Okay.     Did you ever talk to anybody about

         2    respirators?            Ever?

         3              A       No.

        4               Q       Not a word about them?

        5               A       No.     Nobody that I worked with wore them

        6     and--

        7               0       What clothing did you wear?

        8               A       1
                                Just normal,            like blue jeans and a shirt

        9     or a jacket or coat or whatever.

    10              Q           What was the condition of that clothing at

    11       the end of the day?

    12              A           It would be full of dust.

    13              Q       What would you do with it?

   14               A       When I got home,               I just took it off and

   15        the wife took care of it from there.

   16               Q       Did you shake it out or brush it off at

   17        all?

.18                 A       Maybe a little bit.                Not much.

   19               Q       Yeah,       I was   -   -    That would seem to me to be

   20        the normal temptation, and I’ve worked in dusty

   21        places a lot,. to           --




   22               A       Yes.

   23               Q       -   -   just knock of f as much dust as would

   24        come off before you got into your home.

   25               A       Yes.
Case 01-01139-AMC                    Doc 22814-4   Filed 08/14/09        Page 17 of 28




                                                                                      55



        1                Q       Would you take it off outside or take it

        2    off inside?

        3            A           Inside.

       4             Q           Did you notice any dustiness in the house

       5     that you would attribute to the dust on your

       6     clothing?

       7             A           Yes.

       8             Q           And what was that?    I mean   —   -




       9             A           Zoriolite.

   10                Q           How would it appear, though?

   11                A           I don’t understand what you’re         --




   12                Q           Was it dusty in the air in your house all

  13        the time?

  14                 A       Not that you could see.        You seen it like

  15        in the washing machine and where I changed my

  16        clothes, on the floor,

  17                 Q       Okay.

  18             A           Not real bad anyhow, as far as you could

  19        see, no.

  20             Q           I just want to sort of compare             --   I know
  21        that logging and even driving truck in a logging

  22        operation can get fairly dusty             --




  23             A           Yes.

  24             Q           -   -   because of the roads you go over and so

  25        forth.
Case 01-01139-AMC               Doc 22814-4       Filed 08/14/09    Page 18 of 28




                                                                               56



        1              A       Yes.

        2              0       Would you say that the dust that you

       3     brought home was different in quantity from Zonolite

       4     than from truck driving?

       5               A       Oh, yes.

       6               0       Howso?

       7               A       There was more so with Zonolite.

       8               Q       Wouldn’t it just come out of your clothes

       9    or   - -       In other words, as you tried to brush yourself

   10       off?

   11                  A      Some of it did, yes.         It would get in your

   12       pockets and in your shoes and in your boots.

  13                   Q      Okay.

  14                                     MR. GRJHAM:   Why don’t we take a

  15        brief break.

  16                       (A recess was held in the proceedings.)

  17

  18                                    EXAMINATION RESUMED

  19        BY MR.         GRAHAM:

  20               Q          All right.     Back at it.

  21               A          All right.

  22               Q          You have said that you didn’t see anyone

  23        except the one person wear a respirator.                Were you

  24        aware of the availability of respirators?

  25               A         No,     I was not.
Case 01-01139-AMC          Doc 22814-4       Filed 08/14/09      Page 19 of 28




                                                                             58



        1    tailings?

        2            A    No,    I didn’t.

        3            Q    What did you think was going out as

        4    tailings?

        5           A     The rock and, you know, whatever was mixed

       6     in with the vermiculite.

       7            Q     Maybe I didn’t ask the question correctly.

       8    You knew that there were         --   there was stuff in the

       9    ore other than just vermiculite?

   10            A       Yeah,    I guess so.        Just the rock and stuff

   11       that was mixed with it, I guess.              I don’t know what
   12       it was.

   13            Q       But you knew there was something?

   14            A       Yes.

   15            Q       Okay.     Did you, as a millwright, ever work

   16       on the ventilation equipment?

  17             A       No.

                 Q       Were you aware that there waaventilatiqn
  19        equipment there?

  20             A       Yes.

  21             Q       Arid did you have      --   While you were there,
  22        did you reach any conclusion as to the effectiveness

  23        of the ventilation equipment?

  24            A        Very poor.

  25            Q        And why is that?
Case 01-01139-AMC              Doc 22814-4      Filed 08/14/09   Page 20 of 28




                                                                              59



           1             A     A good example that I remember is, there

        2        was what they call a bag plant right on the corner

        3       of the new mill that was supposed to help the

        4       condition of the ore coming out of the oven,           and it
        5       was so dusty you couldn’t even see the plant           --   the
       6        bag plant.

       7                Q     From outside?

       8                A     Yeah,

       9                Q     So you’re saying that when you were

   10           standing outside the new mill you couldn’t even see

   11           the bag plant?

   12                A       No, it would get that dusty.

   13                Q       Was it always that dusty?

  14                 A       Yeah, pretty much so, yes.

  15                 Q       Okay.     Now, were there doors on the new

  16           mill that you were operating in?         In other words,
  17           was it an enclosed structure?

  18                A        Yes.

  19                Q        And the doors would remain closed or would

  20           you open them for ventilation?

  21                A        No,    they were open most of the time.

  22                Q        For what purpose?

  23                A        Easy access.     They were always running in
 24            and out of there with equipment.         It was just easier
 25            to leave stuff open.
Case 01-01139-AMC                  Doc 22814-4     Filed 08/14/09   Page 21 of 28




                                                                                60



        1               Q      Was there any source of duet, to your

       2     knowledge, other than the upper floors of the new

       3     mill that         -   -   the skip facility where it was loading,

       4     and then the bag house?

       S             A         It was all over.       It was   --




       6             Q         What other dust producers were there?

       7             A         Vehicles running on the road.        The wind.
       8             Q         Did they oil or water the roads in the

       9    summer?

   10               A          No.      Well, they might have watered the

   11       roads once in awhile, I guess.               ITm not sure about

   12       that.           But I think I remember them watering the

  13        roads.

  14                Q         What would have been more effective

  15        ventilation?

  16                A         As dusty as it was, I don!t think there

  17        would have been much they could have done.

  18                Q         The bag house, as you understand it, was

  19        designed to try to remove the dust from the air?

  20             A            That’s what I assumed it was for, yes.

  21             Q            And as I understand it, it’s like a big

  22        vacuum cleaner with the bag sort of exposed?

  23             A            Yeah,      I’m not exactly real sure how it

  24        works, but that’s what it was, yes.

  25             Q            And would the dust be coming out of the
Case 01-01139-AMC          Doc 22814-4    Filed 08/14/09   Page 22 of 28




                                                                       61



        1    bags?

        2            A    Yes.

        3            Q    Do you know what kind of dust it was?

       4             A    It was ore dust,

       5             Q    Do you know whether there was any asbestos

       6     in that dust?

       7             A    Idonotknow.
       8             Q   What was the context in which you heard

       9    about tremolite?      If you remember.

   10            A       I dont recall.

   11            0       Okay.   During the period of time that you

   12       worked there, was there any change in the extent of

   13       the dustiness that you could perceive?

  14             A       No.

  15             Q       Did you have any knowledge of any

  16        dangerous minerals in the dust?

  17             A       No, I did not.                           V




  18            .Q       Were you ever told by W.R. Grace to   clean


  19        up the dust because there was going to be an

  20        inspection?

  21             A       Not for an inspection.   We were told to
  22        pretty much keep it cleaned up just because they

  23        wanted it kept clean.

  24             Q       Your understanding was that it was

  25        important to them to keep it clean?
Case 01-01139-AMC            Doc 22814-4       Filed 08/14/09      Page 23 of 28




                                                                            67



        1              Q    --    by W.R. Grace?

        2              A    No.

        3              Q    Did you have any contact with W.R. Grace

        4    after you left work in 1976?

        5              A    No.    None.

        6              Q    Were there any representations made to you

        7    by the company, W.R. Grace, with regard to the dust

        8    as to whether it was harmless or harmful?

        9              A   No.

   10              Q       None whatsoever?

   11              A        (Deponent shakes head.)

   12              Q       None either way?

   13              A       Re--

   14              Q       None either way?        They didn’t say it was

  is        harmful dust,         they didn’t say it’s harmless dust?

  16               A       I was told it was a nuisance dust.

  17               Q       Who told you it was a nuisance dust?

  18               A       I don’t remember if, it was     -.-   I think

  19        Duane Monroe.

  20               Q       How did the matter come up?

  2).              A       Probably just joking around about it.

  22        I don’t really remember that, either.

  23               Q       And the reason I ask the question is that

  24        nuisance dust isn’t        --   Is that a common term for

  25        you?
Case 01-01139-AMC            Doc 22814-4         Filed 08/14/09    Page 24 of 28




                                                                               77



        1              Q    Did you ever know that there had been

       2     asbestogjs claims made during the ‘SOs and ‘70s?

       3               A    No,    I did not.

       4               Q    Okay.    We have Dr. Whitehouse.       You went

       5     to see Dr. Whitehouse, as apparently referred by

       6     Mr. Huribert?

       7               A    Yes.

       8               Q    How was Chat?       How did that come about?

       9               A    Ihad been trying to find reasons all

   10        through the ‘908 as to why I was having trouble,              and
   11       then he was diagnosed with it, and he was telling me

  12        how he was diagnosed, and I got to thinking about it

  13        and I had a lot of the same symptoms.               So I made an
  14        appointment with Dr. Whitehouse and went and seen

  15        him.

  16               Q       What were the symptoms; the shortness of

  17        breath?

  18               A       Yes.

  19               Q       Any other symptoms?

  20               A       Pain in my chest.       Tightness.
  21               Q       When did that start?

  22               A       Like I said,    it started in the early ‘90s

 23         and continued to get worse.

 24                Q       What kind of pain was itin your chest?

 25                A       When you exert yourself, you know, you
Case 01-01139-AMC          Doc 22814-4            Filed 08/14/09   Page 25 of 28




                                                                              78



       1   would get a pain.           I don’t know how to describe it.

       2   Just a sharp pain in your chest.

       3            Q     Where at in your chest?

       4           A      Right here (indicating).

       5           Q      Under your breast bone, basically?

       6           A      Yeah   --   Well, right in there (indicating).

       7           Q      Right in the front, center anyway?

       8        A         Right.

       9       .Q         How long would that last?

   10           A         Depends on how much you exerted yourself.

   11      Not too awful long.             Five minutes, somewhere in

  12       there.       Fifteen minutes.

  13            Q        Would you     -   -   How would you recover from

  14       your shortness of breath?              Would it be a fairly

  15       quick recovery or would it              --




  16            A        It would take a little bit.           Relax and be

  17       quiet a little bit,         like 15 minutes or so, and you

  18       could usually get over it.              Sometimes it would go

  19       longer than that.

  20            Q        Has that changed over the years?

  21           A         It has gotten worse.

  22           Q         Takes longer?

  23           A         Yeah,

  24           Q         How long does it take now?

  25           A         Oh,   there again depends on how much I
Case 01-01139-AMC        Doc 22814-4             Filed 08/14/09   Page 26 of 28




                                                                          79




   1     exert myself.         Like if I put tire chains on my

   2     logging truck, you know, that would be 15, 20

   3    minutes before you get back to where I belong.

   4            Q      Does it vary?            In other words, when you’re

   5    doing the same task, are you always the same rnount

   S    out of breath or do you have times that you get more

   7    out of breath doing exactly the same thing?

   8            A      Sometimes it’s not as bad.            Sometimes it’s

   9    a little worse, maybe.

  10            Q      When you take the Albuterol, does that

  11    help with your shortness of breath?

  12            A      No.     That’s for the gout.

  13            Q      That’s for the gout.           Sure, it wouldn’t

  14    help.       Anything    - -   Any   -   Your Proventil?

  15            A      Yeah, it helps.

  16            Q      Okay.     So you went to see Dr. Whitehouse

  17    in 1997?

  18            A      Yes.    May.

  19            Q     At that time the note he had had said you

  20    quit smoking about three years ago?

  21            A      1993 I quit.

  22            Q      ‘93.    Okay.        And you had smoked one or

  23    more packs of cigarettes per day up until then?

  24            A     Yes.

  25            Q     My recollection is that there were times
Case 01-01139-AMC        Doc 22814-4    Filed 08/14/09   Page 27 of 28




                                                                    91



   1    to what my normal lung capacity would be.

   2          Q     Now, is it your understanding from talking

   3    to Dr. Whitehouse that that’s decreased by

   4    measurement since then?        In other words, that your

   5    pulmonary function test was worse than it was

   6    before?

   7          A     It was worse than last year, yes.

   8          Q     And that’s something that he told you?

   9          A     Yes.

  10          Q     I don’t know how to ask you to try to

  11    quantify it, but you say that your shortness of

  12    breath is increasing and we have talked about

  13    rebomd time.        Is there any other way you can

  14    describe how it’s getting worse?

  15          A     It gets longer.      It becomes harder to

  16    breathe.

  17          Q     Are there tasks that you do today that two

  18    years ago   --    or, tasks that you can’t do today or

  19    can only do them with difficulty that two years ago

  20    you didn’t have any problem doing?

  21          A     Probably not two years ago, but there are

  22    daily activities that I’ve had to give up because of

  23    it.

  24          Q     And what would those be?

  25          A     Most anything around the house.       I can’t
Case 01-01139-AMC           Doc 22814-4      Filed 08/14/09     Page 28 of 28




                                                                         92



       1    shovel snow or mow the lawn or         - -   grass bothers me,

       2    too.       I hire all that done now.

       3           Q       How long have you hired it done?

       4           A       For the last couple years anyhow.        Couple,

       S   three years maybe.

       6           Q      You have children living at home with you,

       7   don’t you?

       8           A      They are in Libby, but they are not living

    9      at home.

   10              Q      How old are your children?

   11              A      I’ve got one that’s 28 and one that’s 23,

   12      and one that’s just about to turn 21.

   13              Q      Okay.     So they have all fled the nest,

   14      probably?       Have they?

  15               A      Yes.

  16               Q      Not very far, but they have fled the nest.

  17               A      Yes.

  18               Q      Are any of them married?

  19               A      No.

  20               0      So during the last few years you have

  21       hired your lawn work and so forth done.             Had any of

  22       your children done that before?

  23               A      No,    I’d pretty much done it all before

  24       that.

  25               Q      And what you’re   --   What you’re saying is
